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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 12CR3244-.JAH

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
JESSE FLORES (4),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion    the Government for   smis    of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8:1324(a) (2) (B) (iii); 18:2 - BRINGING IN ILLEGAL ALIENS WITHOUT

     PRESENTATION; AIDING AND ABETTING

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: SEPTEMBER 18, 2012
                                            DAVID H. BARTICK
                                            U.S. MAGISTRATE JUDGE
